                     IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF ALASKA
                                      RELEASE ORDER

TO: UNITED STATES MARSHAL

RE: UNITED STATES OF AMERICA VS. REY JOEL SOTO-LOPEZ

CASE NO: 3:19-CR-00114-JMK-MMS


Defendant REY JOEL SOTO-LOPEZ,

has this date met the bail conditions indicated below and is ordered discharged from custody.

 ☐ Released to                                                    , the third-party custodian(s).

 ☐ Paid cash bail in the amount of $

 ☐ Posted unsecured bond in the amount of $

 ☐ Posted bond secured by ☐ property or          ☐ Surety in the amount of $
   with the Clerk of Court

 ☐ Surrendered passport to the U.S. Probation and Pretrial Services Office

 ☒ Other Release to the House of Transformation by 8:00 a.m. on 4/7/2021.




        DATED at Anchorage, Alaska, this 6th day of April, 2021.


                                                  s/Matthew S. Scoble
                                                  Matthew M. Scoble
                                                  United States Magistrate Judge




Original & 1 cy to U.S. Marshal




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